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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

EQUAL EMPLOYMENT                   )
OPPORTUNITY COMMISSION,            )
                                   )
               Plaintiff,          )                CIVIL ACTION NO.
                                   )
          v.                       )                COMPLAINT AND
MORSE MOVING & STORAGE, INC., )                     JURY TRIAL
                                   )                DEMAND
               Defendant.          )
__________________________________ )


                           NATURE OF THE ACTION

      This is an action under Title VII of the Civil Rights Act of 1964 and Title I

of the Civil Rights Act of 1991 to correct unlawful employment practices on the

basis of retaliation and to provide appropriate relief to Latasha Black. As alleged

with greater particularity in paragraphs 10 through 13 below, the Equal

Employment Opportunity Commission alleges that Defendant Employer Morse

Moving & Storage, Inc., violated Title VII when it terminated Black’s employment

in retaliation for her complaining of discrimination.

                          JURISDICTION AND VENUE

      1.     Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 451,

1331, 1337, 1343, and 1345. This action is authorized and instituted pursuant to

Sections 706(f)(1) and (3) of Title VII of the Civil Rights Act of 1964, as amended,
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42 U.S.C. §§ 2000e-5(f)(1) and (3) (“Title VII”) and pursuant to Section 102 of the

Civil Rights Act of 1991, 42 U.S.C. § 1981a.

      2.     The employment practices alleged to be unlawful were committed

within the jurisdiction of the United States District Court for the Eastern District of

Michigan.

                                      PARTIES

      3.     Plaintiff, the Equal Employment Opportunity Commission (the

“Commission”), is the agency of the United States of America charged with the

administration, interpretation, and enforcement of Title VII and is expressly

authorized to bring this action by Sections 706(f)(1) and (3) of Title VII, 42 U.S.C.

§§ 2000e-5(f)(1) and (3).

      4.     At all relevant times, Defendant, Morse Moving & Storage, Inc. (the

“Employer”), has continuously been incorporated in the state of Michigan and

doing business in the state of Michigan and the city of Romulus, and has

continuously had at least 15 employees.

      5.     At all relevant times, Defendant Employer has continuously been an

employer engaged in an industry affecting commerce under Sections 701(b), (g),

and (h) of Title VII, 42 U.S.C. §§ 2000e(b), (g), and (h).




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                       ADMINISTRATIVE PROCEDURES

       6.    More than thirty days prior to the institution of this lawsuit, Latasha

Black filed a charge with the Commission alleging violations of Title VII by

Defendant Employer.

       7.    On August 17, 2015, the Commission issued to Defendant Employer a

Letter of Determination finding reasonable cause to believe that Title VII was

violated and inviting Defendant to join with the Commission in informal methods

of conciliation to endeavor to eliminate the unlawful employment practices and

provide appropriate relief.

       8.    On September 17, 2015, the Commission issued to Defendant

Employer a Notice of Failure of Conciliation advising Defendant that the

Commission was unable to secure from Defendant a conciliation agreement

acceptable to the Commission.

       9.    All conditions precedent to the institution of this lawsuit have been

fulfilled.

                              STATEMENT OF CLAIMS

       10.   On or about August 22, 2014, Defendant Employer engaged in

unlawful employment practices at its Romulus, Michigan location, in violation of

Section 704(a) of Title VII, 42 U.S.C. § 2000(e)-3(a), when it fired Black because

she opposed unlawful employment practices.



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      11.    On or about July 18, 2014, Black complained to Defendant

Employer’s Director of Operations that she believed her trainer was not training

her adequately to perform the duties of her position because of her race or sex.

      12.    On or about August 22, 2014, Black again complained to Defendant

Employer’s Director of Operations that her trainer made a derogatory race-based

comment to her, and that her trainer makes daily race-, sex-, and religion-based

comments.

      13.    On or about August 22, 2014, and a few hours after Black complained

about her trainer’s race-based comment, Defendant Employer’s Director of

Operations terminated Black.

      14.    The unlawful employment practices complained of in paragraphs 10

through 13 above were intentional.

      15.    The unlawful employment practices complained of in paragraphs 10

through 13 above were done with malice or with reckless indifference to the

federally protected rights of Black.

                               PRAYER FOR RELIEF

      Wherefore, the Commission respectfully requests that this Court:

      A.     Grant a permanent injunction enjoining Defendant Employer its

officers, agents, servants, employees, attorneys, and all persons in active concert or




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participation with it, from terminating any employee in retaliation for engaging in a

protected activity.

      B.     Order Defendant Employer to institute and carry out policies,

practices, and programs which provide equal employment opportunities which

eradicate the effects of its past and present unlawful employment practices.

      C.     Order Defendant Employer to make Black whole, by providing

appropriate backpay with prejudgment interest, in amounts to be determined at

trial, and other affirmative relief necessary to eradicate the effects of its unlawful

employment practices.

      D.     Order Defendant to make Black whole by providing compensation for

past and future pecuniary losses resulting from the unlawful employment practices

described in paragraphs 10 through 13 above, including job search and medical

expenses, in amounts to be determined at trial.

      E.     Order Defendant Employer to make Black whole by providing

compensation for past and future nonpecuniary losses resulting from the unlawful

practices complained of in paragraphs 10 through 13 above, including emotional

pain, suffering, inconvenience, loss of enjoyment of life, and humiliation, in

amounts to be determined at trial.




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      F.     Order Defendant Employer to pay Black punitive damages for its

malicious and reckless conduct, as described in paragraphs 10 through 13 above, in

amounts to be determined at trial.

      G.     Grant such further relief as the Court deems necessary and proper in

the public interest.

      H.     Award the Commission its costs of this action.


                             JURY TRIAL DEMAND

      The Commission requests a jury trial on all questions of fact raised by its

complaint.

                                             Respectfully submitted,

                                             s/ Laurie A. Young
                                             LAURIE A. YOUNG
                                             Regional Attorney

                                             s/ Kenneth Bird
                                             KENNETH BIRD
                                             Supervisory Trial Attorney

Dated: September 29, 2015                    s/ Miles Shultz
                                             MILES SHULTZ (P73555)
                                             Trial Attorney

                                             EQUAL EMPLOYMENT
                                              OPPORTUNITY COMMISSION
                                             DETROIT FIELD OFFICE
                                             Patrick V. McNamara
                                             477 Michigan Avenue, Room 865
                                             Detroit, Michigan 48226
                                             Miles.Shultz@EEOC.GOV

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                                        Tel. No. (313) 226-6217
                                        Fax No. (313) 226-6584




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